                  Case 4:21-cv-07250-HSG Document 28 Filed 10/13/21 Page 1 of 3



 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     Unlockd Media, Inc. Liquidation Trust
                                                     )   Case No: 4:21-cv-07250-HSG
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF
             v.
                                                     )   ATTORNEY PRO HAC VICE;
 6   Google LLC, et al.                              )   ORDER
                                                     )   (CIVIL LOCAL RULE 11-3)
 7                                                   )
                                     Defendant(s).
                                                     )
 8
         I, Lauren M. Rosenberg                   , an active member in good standing of the bar of
 9    New York                     , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Plaintiff                                    in the
                                                                Christopher Sullivan
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      Cravath, Swaine & Moore LLP, 825 Eighth Ave. Diamond McCarthy LLP, 150 California St.,
14    New York, NY 10019                           Suite 2200, San Francisco, CA 94111
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (212) 474-1159                                      (415) 692-5201
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    lrosenberg@cravath.com                              csullivan@diamondmccarthy.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 5009493      .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 10/04/21                                               /s/ Lauren M. Rosenberg
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Lauren M. Rosenberg                        is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: 10/13/2021
                                                               UNITED STATES DISTRICT JUDGE October 2012

     PRO HAC VICE APPLICATION & ORDER
     Case 4:21-cv-07250-HSG Document 28 Filed 10/13/21 Page 2 of 3




           Appellate Division of the Supreme Court
                    of the State of New York
                   First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                  Lauren Michelle Rosenberg
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on March 12, 2012,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of New York on
                            March 31, 2021.




                                       Clerk of the Court




CertID-00007992
       Case 4:21-cv-07250-HSG Document 28 Filed 10/13/21 Page 3 of 3


                   Supreme Court of the State of New York
                    Appellate Division, First Department
                                             ROLANDO T. ACOSTA
                                                PRESIDING JUSTICE
 SUSANNA MOLINA ROJAS                                                                  MARGARET SOWAH
      CLERK OF THE COURT                                                               DEPUTY CLERK OF THE COURT




To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                            Susanna Rojas
                                                            Clerk of the Court




Revised October 2020



                           27 MADISON AVENUE      NEW YORK, NEW YORK 10010-2201
                      TEL.: (212) 340 0400    INTERNET: WWW.NYCOURTS.GOV/COURTS/AD1/
